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                         Industry Resources on the Changes to the Nutrition Facts Label

  Final Rules


    Final Rule: Revision of the Nutrition and Supplement Facts Labels (https://www.regulations.gov/document?D=FDA-2012-N-1210-0875)

    See submitted comments, supporting documents, and references in Docket No. FDA-2012-N-1210 (https://www.regulations.gov/docket/FDA-2012-N-1210).


    Final Rule: Serving Sizes of Foods That Can Reasonably Be Consumed At One Eating Occasion; Dual-Column Labeling; Updating, Modifying, and Establishing
    Certain Reference Amounts Customarily Consumed; Serving Size for Breath Mints; and Technical Amendments (https://www.regulations.gov/document?
    D=FDA-2004-N-0258-0136)

    See submitted comments, supporting documents, and references in Docket No. FDA-2004-N-0258 (https://www.regulations.gov/docket/FDA-2004-N-0258).


    Final Rule: Revision of the Nutrition and Supplement Facts Labels; Technical Amendments (https://www.federalregister.gov/documents/2018/12/21/2018-
    27431/food-labeling-revision-of-the-nutrition-and-supplement-facts-labels-technical-amendments)

    Provides technical amendments to the two final rules concerning Nutrition Facts and Supplement Facts labeling.


  Fact Sheets, Infographics, and Other Downloads

        Side-by-Side of the Original and New Label (/media/97999/download) Infographic (Black & White PDF - 575KB) | Español
        (/media/98110/download) (Black & White PDF - 789KB)

        Details of Key Changes (/media/99331/download) 1 Page Overview (PDF - 225KB)
        Highlights of Serving Sizes Changes (/media/98037/download) Infographic (PDF - 431KB) | Español (/media/98004/download) (PDF -
        410KB)
        Examples of Labels in the New Format (/media/99203/download) (PDF - 1.7MB)

        Preliminary Regulatory Impact Analysis for the Proposed Rules on the Nutrition Facts Label (http://wayback.archive-
        it.org/7993/20170722031303/https://www.fda.gov/downloads/Food/GuidanceRegulation/GuidanceDocumentsRegulatoryInformation/Labelin
          (http://www.fda.gov/about-fda/website-policies/website-disclaimer)

  Meetings & Workshops

        Nutrition Facts Label Webinar (/food/workshops-meetings-webinars-food-and-dietary-supplements/nutrition-facts-labeling-webinar) -
        June 27, 2016
        Nutrition Facts Label Presentation (/about-fda/page-not-found) (PDF - 580KB)



Following are resources and the most frequently asked questions we have received via our inquiry form
(https://cfsan.secure.force.com/Inquirypage/)  (http://www.fda.gov/about-fda/website-policies/website-disclaimer), and during presentations
made to various stakeholder groups.

Additional questions will be included in guidance documents under development. This is not an exhaustive list and new questions may be added in
the future to address emerging issues and topics that require clarification.

Topics:

     Locating Resources

     Format
     Food Labeling Guide
     Supplement Facts Label

     Compliance
     Added Sugars
     Serving Size
                                                                                                                                                              
     Dual-Column Labels/Single-Serving Containers
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    Folic Acid and Neural Tube Defects Health Claim
    The Voluntary Nutrition Labeling of Raw Fruits, Vegetables, and Fish

    Label Claims


Locating Resources
Where can I find the final rules, guidance, and other helpful reference information related to the Nutrition Facts and
Supplement Facts labels?

    Final Rule: Revision of the Nutrition and Supplement Facts Labels (https://www.gpo.gov/fdsys/pkg/FR-2016-05-27/pdf/2016-11867.pdf)
    (May 2016)
    Final Rule: Serving Sizes of Foods That Can Be Reasonably Consumed at One Eating Occasion; Dual-Column Labeling; Updating, Modifying,
    and Establishing Certain Reference Amounts Customarily Consumed; Serving Size for Breath Mints; and Technical Amendments
    (https://www.gpo.gov/fdsys/pkg/FR-2016-05-27/pdf/2016-11865.pdf) (May 2016)
    Final Rule: Food Labeling: Revision of the Nutrition and Supplement Facts Labels and Serving Sizes of Foods That Can Reasonably Be
    Consumed At One Eating Occasion; Dual-Column Labeling; Updating, Modifying, and Establishing Certain Reference Amounts Customarily
    Consumed; Serving Size for Breath Mints; and Technical Amendments; Extension of Compliance Dates
    (https://www.federalregister.gov/documents/2018/05/04/2018-09476/food-labeling-revision-of-the-nutrition-and-supplement-facts-labels-
    and-serving-sizes-of-foods-that) (May 2018)
    Final Rule: Revision of the Nutrition and Supplement Facts Labels; Technical Amendments
    (https://www.federalregister.gov/documents/2018/12/21/2018-27431/food-labeling-revision-of-the-nutrition-and-supplement-facts-labels-
    technical-amendments) (December 2018)
    Guidance for Industry: The Declaration of Allulose and Calories from Allulose on Nutrition and Supplement Facts Labels (/regulatory-
    information/search-fda-guidance-documents/guidance-industry-declaration-allulose-and-calories-allulose-nutrition-and-supplement-facts-
    labels) (October 2020)
    Request for Information: Sugars that are Metabolized Differently than Traditional Sugars (https://www.federalregister.gov/public-
    inspection/2020-22900/sugars-that-are-metabolized-differently-than-traditional-sugars) (October 2020)
    Guidance for Industry: Revision of the Nutrition and Supplement Facts Labels; Small Entity Compliance Guide (/regulatory-
    information/search-fda-guidance-documents/small-entity-compliance-guide-revision-nutrition-and-supplement-facts-labels) (January 2020)

    Guidance for Industry: Serving Sizes of Foods That Can Reasonably Be Consumed At One Eating Occasion, Reference Amounts
    Customarily Consumed, Serving Size-Related Issues, Dual-Column Labeling, and Miscellaneous Topics (/regulatory-information/search-fda-
    guidance-documents/guidance-industry-serving-sizes-foods-can-reasonably-be-consumed-one-eating-occasion-reference) (December 2019)
    Guidance for Industry: Nutrition and Supplement Facts Labels: Questions and Answers Related to the Compliance Date, Added Sugars,
    and Declaration of Quantitative Amounts of Vitamins and Minerals (/regulatory-information/search-fda-guidance-documents/guidance-
    industry-nutrition-and-supplement-facts-labels-questions-and-answers-related-compliance) (Revised December 2019)
    Guidance for Industry: Policy Related to Cranberry Products with Added Flavorings (/regulatory-information/search-fda-guidance-
    documents/guidance-industry-policy-related-cranberry-products-added-flavorings) (August 2019)
    Guidance for Industry: Converting Units of Measure for Folate, Niacin, and Vitamins A, D, and E on the Nutrition and Supplement Facts
    Labels (/regulatory-information/search-fda-guidance-documents/guidance-industry-converting-units-measure-folate-niacin-and-vitamins-d-
    and-e-nutrition-and) (August 2019)
    Guidance for Industry: Declaration of Added Sugars on Honey, Maple Syrup, Other Single-Ingredient Sugars and Syrups, and Certain
    Cranberry Products (/regulatory-information/search-fda-guidance-documents/guidance-industry-declaration-added-sugars-honey-maple-
    syrup-other-single-ingredient-sugars-and) (June 2019)
    Guidance for Industry: The Declaration of Certain Isolated or Synthetic Non-Digestible Carbohydrates as Dietary Fiber on Nutrition and
    Supplement Facts Labels (/regulatory-information/search-fda-guidance-documents/guidance-industry-declaration-certain-isolated-or-
    synthetic-non-digestible-carbohydrates-dietary) (June 2018)
    Guidance for Industry: Scientific Evaluation of the Evidence on the Beneficial Physiological Effects of Isolated or Synthetic Non-Digestible
    Carbohydrates Submitted as a Citizen Petition (21 CFR 10.30) (/regulatory-information/search-fda-guidance-documents/guidance-industry-
    scientific-evaluation-evidence-beneficial-physiological-effects-isolated-or) (February 2018)
    Guidance for Industry: Reference Amounts Customarily Consumed: List of Products for Each Product Category (/regulatory-
    information/search-fda-guidance-documents/guidance-industry-reference-amounts-customarily-consumed-list-products-each-product-
    category) (February 2018)
    Guidance for Industry: Small Entity Compliance Guide for Serving Size Final Rule (/regulatory-information/search-fda-guidance-
    documents/guidance-industry-food-labeling-serving-sizes-foods-can-reasonably-be-consumed-one-eating-occasion) (February 2018)
                                                                                                                                        
    Guidance for Industry: FDA's Policy on Declaring Small Amounts of Nutrients and Dietary Ingredients on Nutrition Labels (/regulatory-
                                                                                                                                       Top ()
    information/search-fda-guidance-documents/guidance-industry-fdas-policy-declaring-small-amounts-nutrients-and-dietary-ingredients-
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     nutrition) (July 2016)
     Updated Daily Values
              updated Daily Reference Values (DRVs) (/media/99059/download) in the final rule
              updated Reference Daily Intakes (RDIs) (/media/99069/download) in the final rule
     New Reference Amounts Customarily Consumed (RACCs)

              Starting on page 34041 (https://www.gpo.gov/fdsys/pkg/FR-2016-05-27/pdf/2016-11865.pdf#page=42) of the Serving Size final rule

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Format
Is there a quick reference with all of the format requirements for the new label (e.g., font sizes)?

We received many questions about the specifications for the different label formats that were shown in the Nutrition Facts label final rule. Therefore,
we are posting graphic illustrations depicting the changes that were made to several format displays, including the standard vertical display,
standard tabular display, tabular display for small packages, and the linear display for small packages. These illustrations provide information on
requirements for the use of bold font and type sizes that were established in the Nutrition Facts label final rule. We are also providing illustrations on
the new Nutrition Facts label depicting other format elements that have not changed, such as line thickness, font styles, and leading specifications
that were previously shown in Appendix B to Part 101, Title 21 of the CFR.

     High-Resolution Examples of Different Labels in the New Format - Graphic Illustrations (/media/99203/download) (for
     reference only) (PDF - 475KB)
     High-Resolution Examples of Different Labels in the New Format - Graphic Illustrations with Explanations of Details
     (/media/99151/download) (for reference only) (PDF - 408KB)

Note that, except for the hairline above the Added Sugars declaration, all hairlines between nutrients extend the full width of the label so that the
hairlines almost touch the left border of all label formats (with the exception of the tabular and linear displays). We acknowledge that the dual
column label formats depicted in the final rule incorrectly showed the hairlines between Saturated Fat and Trans Fat as not extending to the left edge
of the label. We plan to correct this error. Additionally, a type size was inadvertently left out of the rule for the “Amount Per Serving” statement CFR
101.9(d)(1)(iii), we plan to correct that in future rulemaking.

Will FDA be providing templates of the Nutrition Facts label for industry to use?

FDA has not provided label templates in the past and we do not plan to do so now. The use of a template would not necessarily reflect all of the
factors that a company may need to consider that are unique to its product, such as the placement of information on a particular package size, the
need for certain nutrition information based on label claims made elsewhere on the label, and decisions related to voluntary nutrition information
that may be included or omitted. Therefore, we suggest that companies use the sample labels and graphic illustrations as visual guides when
formatting their own labels..

To help industry comply with the changes described in the new regulations, we are posting graphic illustrations of several different format displays
that depict the requirements and also provide examples of certain format elements that have not changed. Refer to the previous question for links.
FDA is also aware that the private sector is equipped to provide labeling templates.

Will the agency be releasing high-resolution versions of the mockups?

See High-Resolution Examples of Different Labels in the New Format (/media/99203/download) (for reference only) (PDF - 475KB).

Does the FDA have an example of an English/Spanish bilingual Nutrition Facts label?

For an example of an English/Spanish bilingual standard vertical label, see Nutrition Facts/Datos de Nutricion – Bilingual Label
(/media/120748/download) (for reference only) (PDF - 115KB).

In what order should nutrients be listed on the Nutrition Facts label?

We have provided a sample label (Standard Vertical label with voluntary nutrients) on page 33986 (https://www.gpo.gov/fdsys/pkg/FR-2016-05-
27/pdf/2016-11867.pdf#page=246) of the final rule showing the order in which the mandatory nutrients and some commonly listed voluntary
nutrients are declared on food product labels. Following the “Calories” declaration located near the top of the label, the general order for listing
nutrients is: macronutrients (and sodium), mandatory public health nutrients (i.e., vitamin D, calcium, iron, and potassium), voluntary vitamins,
and voluntary minerals. As stated in 21 CFR 101.9(c)(8)(ii)(B), voluntary vitamins and minerals must be listed on the Nutrition Facts label in the
order established in the table in 21 CFR 101.9(c)(8)(iv) (see the table on page 33982 (https://www.gpo.gov/fdsys/pkg/FR-2016-05-27/pdf/2016-
11867.pdf#page=242) of the final rule). It should be noted that this table also includes the mandatory vitamins and minerals (i.e., vitamin D,        
calcium, iron, and potassium) and protein, which should not be considered when determining the order of the voluntary nutrients. In addition, this   Top ()
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table lists the unit of measure and RDI for each nutrient. Nutrients having a DRV are shown in the table on page 33982
(https://www.gpo.gov/fdsys/pkg/FR-2016-05-27/pdf/2016-11867.pdf#page=242) and page 33983 (https://www.gpo.gov/fdsys/pkg/FR-2016-05-
27/pdf/2016-11867.pdf#page=243) of the final rule (21 CFR 101.9(c)(9)), but these nutrients are not listed in the exact order they appear on the
Nutrition Facts label.

The following drop-down lists summarize the order that mandatory and voluntary nutrients are generally declared on the Nutrition Facts label:


  General order for listing statutorily declared nutrients and other mandatory or voluntary nutrients on the Nutrition Facts label


  Calories

  Calories from Saturated Fat

  Total Fat

  Saturated Fat

  TransFat

  Polyunsaturated Fat

  Monounsaturated Fat

  Cholesterol

  Sodium

  Fluoride

  Total Carbohydrate

  Dietary Fiber

  Soluble Fiber

  Insoluble Fiber

  Total Sugars

  Added Sugars

  Sugar Alcohol[1]

  Protein

  Vitamin D

  Calcium

  Iron

  Potassium

  [1]The
           specific name of the sugar alcohol (e.g., “Xylitol”) may be declared on the label if only one sugar alcohol is present in the food.



  Order for listing voluntary vitamins and minerals on the Nutrition Facts label


  Vitamin A

  Vitamin C

  Vitamin E

  Vitamin K

  Thiamin

  Riboflavin                                                                                                                                        
                                                                                                                                                   Top ()
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  Niacin

  Vitamin B6

  Folate[2]

  Vitamin B12

  Biotin

  Pantothenic Acid

  Phosphorus

  Iodine

  Magnesium

  Zinc

  Selenium

  Copper

  Manganese

  Chromium

  Molybdenum

  Chloride

  Choline

  [2]"Folate"
             and "Folic Acid" must be used for purposes of declaration in the labeling of conventional foods and dietary supplements. The
  declaration for folate must be in mcg DFE (when expressed as a quantitative amount by weight in a conventional food or a dietary supplement),
  and percent DV based on folate in mcg DFE. Folate may be expressed as a percent DV in conventional foods. When folic acid is added or when a
  claim is made about the nutrient, folic acid must be declared in parentheses, as mcg of folic acid.



In what order should nutrients be listed on the Supplement Facts label?

The order in which nutrients are listed on the Supplement Facts label is described in 21 CFR 101.36(b)(2)(i)(B) on page 33994
(https://www.gpo.gov/fdsys/pkg/FR-2016-05-27/pdf/2016-11867.pdf#page=254) of the final rule. Our final rule requires that choline be declared
after pantothenic acid on the Supplement Facts label and that fluoride be declared at the end of the list of nutrients (i.e., after potassium). The
sample label on page 33999 (https://www.gpo.gov/fdsys/pkg/FR-2016-05-27/pdf/2016-11867.pdf#page=259) of the final rule shows the order in
which commonly listed vitamins and minerals are declared on dietary supplement labels. However, this label contains an error, as choline should be
declared after pantothenic acid, rather than after potassium as it now appears. FDA plans to correct this error in a technical amendment.

The general order in which macronutrients and micronutrients in a dietary supplement product are listed on the Supplement Facts label is
summarized in the following drop-down lists:


  General order for listing macronutrients and vitamins on the Supplement Facts label


  Calories

  Calories from Saturated Fat[1]

  Total Fat

  Saturated Fat

  Trans Fat

  Polyunsaturated Fat[1]

  Monounsaturated Fat[1]
                                                                                                                                                
  Cholesterol                                                                                                                                 Top ()
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Total Carbohydrate

Dietary Fiber

Soluble Fiber[1]

Insoluble Fiber[1]

Total Sugars

Added Sugars

Sugar Alcohol[1, 2]

Protein

Vitamin A

Vitamin C

Vitamin D

Vitamin E

Vitamin K

Thiamin

Riboflavin

Niacin

Vitamin B6

Folate[3]

Vitamin B12

Biotin

Pantothenic Acid

Choline

[1]Must   be declared if a claim is made about the nutrient; otherwise, declaring the nutrient is voluntary.

[2]
  The specific name of the sugar alcohol (e.g., “Xylitol”) may be declared on the label if only one sugar alcohol is present in the dietary
supplement.

[3]
  "Folate" and "Folic Acid" must be used for purposes of declaration in the labeling of conventional foods and dietary supplements. The
declaration for folate must be in mcg DFE (when expressed as a quantitative amount by weight in a conventional food or a dietary supplement),
and percent DV based on folate in mcg DFE. Folate may be expressed as a percent DV in conventional foods. When folic acid is added or when a
claim is made about the nutrient, folic acid must be declared in parentheses, as mcg of folic acid.



Order for listing minerals and micronutrients on the Supplement Facts label

Calcium

Iron

Phosphorus

Iodine

Magnesium

Zinc
                                                                                                                                               
Selenium
                                                                                                                                              Top ()
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  Copper

  Manganese

  Chromium

  Molybdenum

  Chloride

  Sodium

  Potassium

  Fluoride




FDA now permits the voluntary declaration of fluoride as provided for in §101.9(c)(5). Where should fluoride be placed on the
Nutrition Facts label and how should it be formatted (i.e. indentation, bolding, etc.)?

Our current thinking is to place the declaration for “Fluoride” directly beneath the declaration of “Sodium” on the Nutrition Facts label, when
fluoride is voluntarily declared pursuant to 21 CFR 101.9(c)(5). Our current thinking with regards to formatting fluoride is to list the nutrient in bold
or extra bold type and not to indent the declaration; an approach consistent with the declaration of sodium, which would appear directly above the
voluntary fluoride declaration. We plan to address this in future guidance.

Is it permissible to use the abbreviations identified for nutrients in §101.9(j)(13)(ii)(B) in the statement, “Not a significant
source of ____” as required by §101.9(f)(4) when the simplified Nutrition Facts panel format is used and nutrition claims are
made on the label?

The use of abbreviations for nutrients identified in 21 CFR 101.9(j)(13)(ii)(B) may be used in that statement for foods in packages that have a total
surface area available to bear labeling of 40 or less square inches. The modified requirements set forth in § 101.9(j)(13)(ii)(B) do not apply to all
packages that use the simplified Nutrition Facts panel, only those packages that have a total surface area available to bear labeling of 40 or less
square inches.

If there is insufficient continuous vertical space (i.e., larger than 3 inches) for the Nutrition Facts panel, can the tabular format
be used?

The regulation in § 101.9(d)(11)(iii) provides that if there is not enough vertical space (i.e., approximately 3 in.) to accommodate the required
components of the Nutrition Facts label, up to and including the mandatory declaration of potassium, the nutrition label may be presented in a
tabular display.

If a package of a single-ingredient sugar or syrup meets the criteria for the use of the linear display for small or intermediate-
sized packages, what should the label look like?

The linear display for small or intermediate-sized packages may be used if a package or container of a single-ingredient sugar or syrup has a total
surface area to bear labeling of 40 or less square inches and the label will not accommodate a tabular display. Although the declaration of the gram
amount of Added Sugars is not required on the labels of single-ingredient sugars and syrups, these foods contribute added sugars to the diet when
consumed, and the percent Daily Value (%DV) for Added Sugars (preceded by a blank space) must be declared on the label, regardless of the format
used. If the linear display for small or intermediate-sized packages is used on a single-ingredient sugar or syrup product, we encourage the
placement of the “†” symbol next to the percent %DV declaration for Added Sugars. The “†” should direct consumers to a statement that is truthful
and not misleading within a footnote in the Nutrition Facts label box that includes a description of the gram amount of sugar added to the diet by
one serving of the product and its contribution to the %DV for Added Sugars in the diet. The following is an example of what the linear display may
look like on a small or intermediate-sized container of honey:




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                                                                                                                                                    Top ()
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Manufacturers may also choose to use the simplified format if the product is not a significant source of certain nutrients. In the example above, the
declarations of Sat. Fat, Trans Fat, Cholest., Fiber, Vit. D, Calcium, Iron, and Potas. could be removed, and the statement “Not a significant source of
sat. fat, trans fat, cholest., fiber, vit. D, calcium, iron, and potas.” could be placed above the footnote.

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Food Labeling Guide
Is FDA planning to update the labeling guide posted on your website?

We are working on updating our current Food Labeling Guide (/about-fda/page-not-found) to incorporate the changes to the Nutrition and
Supplement Facts labels, but this will take some time. Parts of the labeling guide are up to date including the net quantity statements, ingredient
lists, and claims information. While the Nutrition Labeling section of Food Labeling Guide is being updated, the nutrition labeling changes are
addressed in our final rules that updated the Nutrition Facts label and we are also providing this Question and Answer document to highlight the
areas of change to the format.

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Supplement Facts Label
Did the format change for the Supplement Facts Label? How big should the calorie declaration be for the Supplement Facts
label?

The format of the Supplement Facts label did not changing substantially. Similar to the Nutrition Facts label, we no longer require vitamin A,
vitamin C, or calories from fat to be declared as (b)(2) dietary ingredients, and instead we require vitamin D, potassium, and added sugars to be
declared. In addition, we have replaced “sugars” with “total sugars” in the list of (b)(2) dietary ingredients, and we have made several changes in the
order in which vitamins and minerals are listed (for example, when declared, choline must follow pantothenic acid on the label and fluoride must be
at the end of the list of nutrients, below potassium when it is declared), as described on page 33933 of the final rule (§ 101.36(b)(2)(i)(B)).
Furthermore, we have updated the Daily Values based on recent science, and we updated the units of measures. Also, we are requiring a footnote for
labels of certain products represented or purported to be for use by children 1 through 3 years of age as shown in § 101.36(e)(11)(ii) (Please see
Section P beginning on page 33932 (https://www.gpo.gov/fdsys/pkg/FR-2016-05-27/pdf/2016-11867.pdf#page=192) of the final rule
(https://www.gpo.gov/fdsys/pkg/FR-2016-05-27/pdf/2016-11867.pdf)).

The calorie declaration on the Supplement Facts label does not need to be as prominent as on the Nutrition Facts label because many dietary
supplements do not contribute a significant amount of calories to the diet. Therefore, as we state on page 33939
(https://www.gpo.gov/fdsys/pkg/FR-2016-05-27/pdf/2016-11867.pdf#page=199) of the final rule, we are not requiring that information about
calories be displayed in a larger type size or be highlighted in bold type or extra bold on any Supplement Facts label. In a future technical
amendment, we intend to correct the error in the codified section of the final rule (§ 101.36(e)), which states that a font size at least two points
greater [than 8 point] shall be used for “Calories” and the heading “Calories” and the actual number of calories per serving shall be highlighted in
bold or extra bold type.

      High-Resolution Examples of Different Supplement Facts Labels in the New Format (/media/99158/download) (for reference
      only) (PDF - 579KB)

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Compliance
What are the compliance dates for the new requirements?

On May 3, 2018, the FDA issued a final rule to extend the compliance dates for the Nutrition Facts and Supplement Facts label and Serving Size final
rules from July 26, 2018, to Jan. 1, 2020, for manufacturers with $10 million or more in annual food sales. Manufacturers with less than $10 million
in annual food sales had an additional year to comply – until Jan. 1, 2021. Manufacturers of most single-ingredient sugars such as honey and maple
syrup and certain cranberry products have until July 1, 2021, to make the changes. Manufacturers of certain flavored dried cranberries had until July
1, 2020, to make the changes. These compliance dates are still in place.

However, the FDA has heard from some manufacturers that more time may be needed to meet all of the requirements, especially during the COVID-
19 pandemic. Therefore, FDA is not currently focusing on enforcement actions regarding these new requirements.


FDA recognizes the public health importance of ensuring that consumers have access to the new Nutrition Facts label, and this new label appears 
                                                                                                                                                on
the majority of food packages. FDA continues to work cooperatively with manufacturers to meet the new Nutrition Facts label requirements.     Top ()
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Added Sugars
How does the FDA define “added sugars”?

The definition of added sugars includes sugars that are either added during the processing of foods, or are packaged as such, and include sugars
(free, mono- and disaccharides), sugars from syrups and honey, and sugars from concentrated fruit or vegetable juices that are in excess of what
would be expected from the same volume of 100 percent fruit or vegetable juice of the same type. The definition excludes fruit or vegetable juice
concentrated from 100 percent fruit juice that is sold to consumers (e.g. frozen 100 percent fruit juice concentrate) as well as some sugars found in
fruit and vegetable juices, jellies, jams, preserves, and fruit spreads. However, although they are still “added sugars,” single-ingredient sugars such as
pure honey, maple syrup, and a bag of sugar, have different labeling requirements from other added sugars.

How will single-ingredient sugars like packages and containers of pure honey, maple syrup, and other pure sugars and syrups
be labeled?

These products have different labeling requirements. They are not required to include the number of grams of Added Sugars in a serving of the
product but must still include a declaration of the percent Daily Value for Added Sugars. Manufacturers are encouraged to use the “†” symbol
immediately following the Added Sugars percent Daily Value on single-ingredient sugars and syrups, which would lead to a truthful and not
misleading statement in a footnote explaining the amount of added sugars that one serving of the product contributes to the diet as well as the
contribution of a serving of the product toward the percent Daily Value for added sugars.

An example of such labeling using the standard vertical format is available in FDA’s fact sheet for The Nutrition Facts Label: Declaration of Added
Sugars for Single-Ingredient Sugars and Certain Cranberry Products (/media/127968/download). For an example of a linear label for small or
intermediate-sized packages, please see the question under Format on use of the linear label for small or intermediate-sized packages on a package
or container of a single-ingredient sugar or syrup.

How will sugars and syrups that contain two or more ingredients be labeled?

All packages and containers of sugars and syrups with two or more ingredients must have both the gram declaration and percent Daily Value for
Added Sugars on their Nutrition Facts labels. For example, products such as brown sugar consisting of a combination of cane sugar and cane
molasses, powdered sugar containing corn starch, or a pure syrup with added flavoring must declare the gram and percent Daily Value for Added
Sugars. All of the sugars in multiple-ingredient sugar and syrup products must be declared as Added Sugars.

Only manufacturers of single ingredient sugars and syrups may omit “Includes Xg Added Sugars” from the Added Sugars line on the Nutrition Facts
label. This exemption arose from concerns about consumers potentially being misled to believe that the declaration of “Added Sugars” on single-
ingredient sugars and syrups means exogenous (originating from outside the product) sweeteners have been added, which could mean the products
are adulterated. The exemption does not apply to products that contain multiple sugars, syrups or other ingredients, including flavorings.

Do cranberry products have to include an Added Sugars declaration?

The number of grams of Added Sugars in a serving of the product, as well as the percent Daily Value for Added Sugars, must still be labeled for
cranberry products. FDA intends to exercise enforcement discretion for certain cranberry products to allow for the use of a symbol leading to a
statement that is truthful and not misleading placed outside the Nutrition Facts label. Manufacturers could explain, through the use of the
statement, that the sugars added to these dried cranberries or cranberry beverage products are meant to increase the palatability of the naturally tart
fruit and that the amount of total sugars per serving is at a level that does not exceed the amount of total sugars in a comparable product with no
added sugars. See FDA’s fact sheet for The Nutrition Facts Label: Declaration of Added Sugars for Single-Ingredient Sugars and Certain Cranberry
Products (/media/127968/download).

Do sugars found in concentrated fruit or vegetable purees and pastes need to be declared as added sugars on the label?

We have received a number of inquiries related to this topic since publication of the final rule. Additional information is available in our Draft
Guidance for Industry: Questions and Answers on the Nutrition and Supplement Facts Labels Related to the Compliance Date, Added Sugars, and
Declaration of Quantitative Amounts of Vitamins and Minerals (/about-fda/page-not-found).

We intend to respond to questions we received on the draft guidance about concentrated fruit or vegetable purees and pastes when we issue the final
guidance.

FDA has standardized Brix data for a variety of juices (§ 101.30(h)) but this table does not include all of the common
fruit/vegetable juices used to formulate products today (e.g., coconut water, acai juice). Does FDA plan to update the Brix table
in § 101.30(h)?

We are not planning to update the Brix table in 21 CFR 101.30(h) at this time. The mechanism for requesting the addition to the table of a Brix level
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for a single strength juice is the submission of a Citizen Petition (CP) (21 CFR 10.30). The addition to the table in § 101.30(h)(1) of a Brix level forTop
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new single strength juice would require FDA to amend the regulation to update the table.
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We intend to respond to questions relation to the calculation of added sugars in juices in the final guidance on Questions and Answers on the
Nutrition and Supplement Facts Labels Related to the Compliance Date, Added Sugars, and Declaration of Quantitative Amounts of Vitamins and
Minerals.

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Serving Size
Some products have a RACC of 30 grams, which needs to be converted to a household measure for the serving size. A RACC of
30 grams is approximately equal to a household measure of 1 ounce, but 1 ounce technically weighs 28.35 grams. If the
household serving size is 1 ounce, should the gram weight equivalent of the label serving size be 30 grams or rounded to 28
grams?

For nutrition labeling purposes, if the household serving size is 1 ounce, manufacturers should use 28 grams as the rounded metric weight
equivalent, as explained in 21 CFR 101.9(b)(5)(viii).

How do I know to which RACC product category my product belongs?

In February 2018, we issued Final Guidance for Industry: Reference Amounts Customarily Consumed: List of Products for Each Product Category
(/regulatory-information/search-fda-guidance-documents/guidance-industry-reference-amounts-customarily-consumed-list-products-each-
product-category) to help industry identify the product category to which specific products belong by providing a non-exhaustive list of product
examples that belong in each of the product categories included in the RACC tables established in 21 CFR 101.12(b).

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Dual-Column Labeling/Single-Serving Containers
Are product labels that voluntarily provide an additional column of nutrition information per unit when the serving size of a
product in discrete units in a multi-serving container is more than 1 unit exempt from dual-column labeling requirements,
when dual-column labeling would otherwise be required?

There is no specific exemption from dual-column labeling requirements for product labels that voluntarily provide an additional column of nutrition
information per unit.

Under § 101.9(b)(10)(ii), another column of nutrition information may be used voluntarily to declare the nutrient and food component information
per one unit if the serving size of a product in discrete units is more than one unit. This provision does not exempt the product from other applicable
labeling requirements (e.g., dual-column labeling requirements); therefore, any nutrition information provided under § 101.9(b)(10)(ii) would be
provided in addition to other required nutrition information. For products in discrete units, applicable requirements are in § 101.9(b)(2)(i). Under §
101.9(b)(2)(i)(D), if a unit weighs at least 200 percent and up to and including 300 percent of the applicable reference amount, the Nutrition Facts
label shall bear two columns of information:

     The first column shall provide nutrition information per serving size, which shall be the amount that approximates the reference amount (e.g.,
     ½ piece).
     The second column shall provide the quantitative amounts and percent Daily Values per individual unit.

Note that the exemptions in paragraphs (A), (B), and (C) of § 101.9(b)(12)(i) apply to labels subject to the requirements of § 101.9(b)(2)(i)(D).

Is a manufacturer permitted to voluntarily provide an additional column of nutrition information on the serving size as
determined by the RACC for products that meet the criteria for the single-serving container definition as described in §101.9(b)
(6)? The product label described in this scenario would have two columns of nutrition information: (1) serving size as
determined by the RACC and (2) serving size based on the entire contents of the container.

For products that meet the definition of a single-serving container, the serving size is the container, not the amount most closely approximating the
RACC. Including nutrition information based on the serving size (in this scenario, the full container) is not voluntary. However, under § 101.9(b)(6),
in addition to providing a column within the Nutrition Facts label that lists the quantitative amounts and percent Daily Values per serving, for a
product that is packaged and sold individually that contains more than 150 percent and less than 200 percent of the applicable reference amount,
the Nutrition Facts label may voluntarily provide, to the left of the column that provides nutrition information per container (i.e., per serving), an
additional column that lists the quantitative amounts and percent Daily Values per common household measure that most closely approximates the
reference amount.

For products that meet the criteria for the single-serving container definition and the label voluntarily discloses nutrition
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information on a “per unit” basis in addition to a “per serving” basis and bears a nutrient content claim, should the nutrient
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content claim be based on the serving (i.e., the entire contents of the container) or the unit?
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As explained in the Serving Size Final Rule (https://www.gpo.gov/fdsys/pkg/FR-2016-05-27/pdf/2016-11865.pdf), nutrient content claims typically
must be based on the RACC, but in some cases they must be based on both the RACC and a per-label serving size (81 FR 34000
(https://www.gpo.gov/fdsys/pkg/FR-2016-05-27/pdf/2016-11865.pdf#page=1), 34010 (https://www.gpo.gov/fdsys/pkg/FR-2016-05-
27/pdf/2016-11865.pdf#page=11), May 27, 2016). Nothing in the Serving Size Final Rule changed the preexisting requirements for nutrient content
claims for those who choose to voluntarily provide a second column of nutrition information. However, under the Serving Size Final Rule, when a
nutrient content claim is made on the label of a product that uses a dual column as required in § 101.9(b)(2)(i)(D) or (b)(12)(i), the claim must be
followed by a statement that sets forth the basis on which the claim is made, except that the statement is not required for products when the nutrient
that is the subject of the claim meets the criteria for the claim based on both the RACC and the entire container or unit amount. All information
included on a product label must be truthful and not misleading.

If a manufacturer chooses to voluntarily include an additional column of RACC-based nutrition information for a product that
is packaged and sold individually, that contains more than 150% and less than 200% of the applicable RACC, how should the
serving size and servings per container be based?

Voluntarily choosing to provide an additional column of information does not change the serving size of the product. Under § 101.9(b)(6), a product
that is packaged and sold individually that contains less than 200 percent of the applicable reference amount must be considered to be a single-
serving container, and the entire content of the product must be labeled as one serving.

For variety packs where there is more than one of each product, what is the appropriate presentation for the servings per
container to indicate the number of servings of each product?

FDA did not substantively amend § 101.9(d)(13)(i) and (ii) except to maintain consistency of the aggregate display with the other label formats
illustrated in 101.9(d). Under § 101.9(d)(13):

     Nutrition labels on the outer label of packages of products that contain two or more separately packaged foods that are intended to be eaten
     individually (e.g., variety packs of cereals or snack foods) or of packages that are used interchangeably for the same type of food (e.g., round ice
     cream containers) may use an aggregate display, and
     Aggregate displays shall comply with the format requirements of § 101.9(d) to the maximum extent possible, except that the identity of each
     food shall be specified immediately to the right of the “Nutrition Facts” heading, and both the quantitative amount by weight (i.e., g/mg/mcg
     amounts) and the percent Daily Value for each nutrient shall be listed in separate columns under the name of each food.

For an example of the correct format for the aggregate display, see page 33987 (https://www.gpo.gov/fdsys/pkg/FR-2016-05-27/pdf/2016-
11867.pdf#page=247) of the final rule entitled “Food Labeling: Revision of the Nutrition and Supplement Facts Label
(https://www.gpo.gov/fdsys/pkg/FR-2016-05-27/pdf/2016-11867.pdf)” (81 FR 33742 at 33987).

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Folic Acid and Neural Tube Defects Health Claim
Due to the new requirements in the updated Nutrition Facts label (NFL), some conflicts with existing requirements in certain
health claims have been noted. For example, “folate” and “folic acid” are currently permitted to be used interchangeably in the
health claim for “Folic Acid and Neural Tube Defects” (21 CFR 101.79). However, under the updated NFL regulations (21 CFR
101.9), these terms are no longer considered interchangeable and only folic acid is declared on the NFL. How should
manufacturers use these health claims when the requirements for the claim are different from or inconsistent with the
requirements of the updated NFL?

We are aware that there are existing requirements for individual health claims that are now inconsistent with the information in the updated NFL
regulations. FDA is moving forward to evaluate and update all claims as necessary within the context of agency priorities and resources. We advise
manufacturers that if their product(s) had previously been eligible for the use of a health claim based on the existing requirements of a specific
health claim, that they may continue to use the health claim and should continue to follow the requirements for each individual claim in the existing
regulations, even in light of inconsistencies with the updated NFL information. We similarly advise that new products that are introduced to the
market and intend to use a health claim should follow the requirements for each individual claim in the existing regulations even if inconsistent with
the updated NFL.

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The Voluntary Nutrition Labeling of Raw Fruits, Vegetables, and Fish
Some conflicts exist between the labeling requirements in the guidelines for the voluntary nutrition labeling of raw fruits,
vegetables, and fish and the updated Nutrition Facts Label and Serving Size regulations. For example, the Daily Values for some
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nutrients in the updated 21 CFR 101.9 no longer correspond to the % Daily Value listed in Appendices C and D to 21 CFR part
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101. How should industry (e.g., retailers, growers, producers, and shippers) prepare the nutrition labeling materials at the
point-of-purchase (e.g., posters) and the Nutrition Facts labels for raw fruits, vegetables, and fish, particularly for the products
that are identified among the 20 most frequently consumed?

We are aware that the existing labeling requirements in the guidelines for voluntary labeling of raw fruits, vegetables, and fish are now inconsistent
with the information in the updated Nutrition Facts Label and Serving Size regulations. FDA is moving forward to evaluate and update the voluntary
labeling guidelines as necessary within the context of agency priorities and resources. The nutrition labeling of raw fruits, vegetables, and fish
remains voluntary unless a claim or a statement about nutrient is made. We advise industry to continue following all subsections of 21 CFR 101.45
and Appendices C and D to 21 CFR part 101, until sections 21 CFR 101.42 to 21 CFR 101.45 have been amended to reflect the changes in the Nutrition
Facts Label and Serving Size regulations. If the product is named as one of the 20 most frequently consumed raw commodities (e.g., apple) and
included in 21 CFR 101.44 and Appendices C and D to 21 CFR part 101, the nutrition labeling values of these Appendices must still be used until
updated.

How can industry (e.g., retailers, growers, producers, and shippers) present nutrition information if their product is labeled as
a specific variety, cultivar, or species (e.g., Granny Smith Apple) different from products listed on the 20 most frequently
consumed raw fruits, vegetables, and fish (e.g., apple)?

If the product is identified as one of the 20 most frequently consumed raw fruits, vegetables, or fish (e.g., apple), but the product label shows a name
and description that are specific to a variety, cultivar, or species that is not specifically identified among the 20 most frequently consumed (e.g.,
Granny Smith apple), industry may create the nutrition labeling materials and the Nutrition Facts label using the nutrition labeling values in
Appendices C and D to 21 CFR part 101 that may not reflect the updated Nutrition Facts Label and Serving Size regulations (21 CFR 101.9 and
101.12). However, they may also use industry-determined nutrition labeling values as provided for in 21 CFR 101.45(c).

When industry uses its own nutrient values (which does not preclude some of the nutrient values in Appendices C and D to 21 CFR part 101, if
appropriate), the label must clearly show the name of the product that is not specifically identified among the 20 most frequently consumed, such as
Granny Smith apple. The determination of nutrition labeling values is up to industry.

When the product is named as a specific variety, cultivar, or species that is not specifically identified among the 20 most frequently consumed, and
industry uses its own nutrient values including some of the nutrient values in Appendices C and D to 21 CFR part 101 if applicable, it would be
appropriate to apply the updated Nutrition Facts Label and Serving Size regulations in 21 CFR 101.9 and 21 CFR 101.12.

How can industry (e.g., retailers, growers, producers, and shippers) present nutrition information if their product is not one of
the 20 most frequently consumed raw commodities listed in 21 CFR 101.44?

When the product is not one of the 20 most frequently consumed raw commodities (e.g., mango), it would be appropriate to apply the updated
Nutrition Facts Label and Serving Size regulations in 21 CFR 101.9 and 21 CFR 101.12. FDA does not provide nutrition labeling values for products
that are not one of the 20 most frequently consumed raw commodities. Therefore, the determination of nutrition labeling values is up to industry.

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Label Claims
There are separate methods for determining the number of grams of protein in a serving for declaration on the Nutrition Facts
label and for determining the percent Daily Value of protein for the Nutrition Facts label (21 CFR 101.9(c)(7)). Which method
should be used when calculating protein values for use in protein nutrient content claims?

The regulation for nutrient content claims in 21 CFR 101.13(o) states that, except as provided in 21 CFR 101.10, compliance with requirements for
nutrient content claims in this section and in the regulation in subpart D of this part, will be determined using the analytical methodology prescribed
for determining compliance with nutrition labeling in 21 CFR 101.9.

By design, 21 CFR 101.9(c)(7) specifically provides for two different methods for determining protein values. The regulation states, in 21 CFR
101.9(c)(7), that protein content may be calculated on the basis of the factor 6.25 times the nitrogen content of the food as determined by the
appropriate method of analysis as given in the “Official Methods of Analysis of the AOAC International,” except that when official AOAC procedures
described in 21 CFR 101.9(c)(7) require a specific factor other than 6.25, that specific factor shall be used. Additionally, 21 CFR 101.9(c)(7)(ii)
provides the method for determining protein content using the protein digestibility-corrected amino acid score for use in calculating the percent
Daily Value.

Determination of compliance for protein nutrient content claims will be based on the use of the methods provided in 21 CFR 101.9(c)(7), including
either of the methods mentioned above.

Sugar content claims described in 21 CFR 101.60(c), such as “sugar free” and “no sugar,” are required to be accompanied by a
statement that the food is “not a reduced calorie food,” “not a low calorie food,” or “not for weight control” if the food is not
labeled as “low calorie” or “reduced calorie.” Does 21 CFR 101.60(c) require a statement of the amount of total sugars (“0 g total 
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sugars”), as described in 21 CFR 101.13(i)(3), to be accompanied by those additional statements?
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Title 21 CFR 101.60(c) discusses certain sugar content claims and the specific conditions for their use, including the conditions for requiring the
accompanying statements “not a reduced calorie food,” “not a low calorie food,” or “not for weight control.” Statements about the amount of the
nutrient in a food, which would include “0 g total sugars,” are provided for in 21 CFR 101.13(i), which discusses the specific conditions for their use.
Although amount statements are nutrient content claims and would, therefore, have to follow the general requirements for nutrient content claims,
amount statements need not follow the requirements provided for specific, individual nutrient content claims as described in Subpart D of 21 CFR
101 (21 CFR 101.54 – 101.67). As such, 21 CFR 101.60(c) does not require “0 g total sugars” amount statements to be accompanied by the additional
statements.

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